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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION

UNITED STATES OF AMERICA                            )   CRNO.:     15-   2.\--4C\4-
                                                    )             18 U.S.C.   § 922(g)(l)
                                                    )             18 U.S.C.   § 924(a)(2)
                                                    )             18 U.S.C.   § 924(e)             ,...,,
                                                    )             21 U.S.C.   § 841(a)(l)          =
                                                                                                   r....,
                                                                                                                   (J)
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                                                                                                                   n
                                                    )             21 U.S.C.   § 841(b)(l)(C)       ):,,.       •;)


              vs.                                   )             18 U.S.C.   § 924(c)(l)(A)(i)    c::
                                                                                                   C"".>
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                                                                                                              '."') ?:I
                                                    )             18 U.S.C.   § 924(d)(l)         C)
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                                                    )             21 U.S.C.   § 853                          r~~=:<
                                                    )             21 U.S.C.   § 881                -
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                                                    )             28 U.S.C.   § 2461(c)           ..
                                                                                                  .r:-
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                                                    )                                                       rq

AARON ANDREW AUSTIN                                 )      SEALED INDICTMENT                                (f)
                                                                                                            ::·)




                                           COUNT 1

THE GRAND JURY CHARGES:

       That on or about October 6, 2019, in the District of South Carolina, the Defendant,

AARON ANDREW AUSTIN, knowingly possessed a firearm and ammunition in and affecting

commerce, to wit, a Ruger .22 caliber pistol and .22 caliber ammunition, having been previously

convicted of a crime punishable by imprisonment for a term exceeding one year and knowing that

he had been convicted of such a crime;

       In violation of Title 18, United States Code, Sections 922(g)(l), 924(a)(2), and 924(e).




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                                            COUNT2

THE GRAND JURY FURTHER CHARGES:

       That on or about October 6, 2019, in the District of South Carolina, the Defendant,

AARON ANDREW AUSTIN, knowingly, intentionally, and unlawfully did possess with intent

to distribute a quantity of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance;

       In violation of Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C).

                                            COUNT3

THE GRAND JURY FURTHER CHARGES:

       That on or about October 6, 2019, in the District of South Carolina, the Defendant,

AARON ANDREW AUSTIN, knowingly did use and carry a firearm during and in relation to,

and did possess a firearm in furtherance of, a drug trafficking crime, as alleged in Count 2 of this

Indictment, which is prosecutable in a court of the United States;

       In violation of Title 18, United States Code, Section 924( c)( 1)(A)(i).




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                                           FORFEITURE

FIREARM/DRUG OFFENSES:

       Upon conviction for felony violation of Title 18 and 21, United States Code as charged in

this Indictment, the Defendant, AARON ANDREW AUSTIN, shall forfeit to the United States

all of the Defendant's rights, title, and interest in and to any property, real and personal,

       (a)     constituting, or derived from any proceeds the Defendant obtained, directly or
               indirectly, as the result of such violation( s) of Title 21, United States Code, and all
               property traceable to such property;

        (b)    used or intended to be used, in any manner or part, to commit or to facilitate the
               commission of such violations of Title 21, United States Code;

        (c)    any firearms and ammunition (as defined in 18 U.S.C. § 921)-

               (1)     used or intended to be used to facilitate the transportation, sale, receipt,
                       possession, or concealment of controlled substances or any proceeds
                       traceable to such property;

                (2)    involved in or used in any knowing violations of 18 U.S.C. §§ 922 and 924,
                       or violation of any other criminal law of the United States, or intended to be
                       used in a crime of violence.

PROPERTY:

       Pursuant to Title 18, United States Code, Section 924( d)(l ), Title 21, United States Code,

Sections 853 and 881, and Title 28, United States Code, Section 2461(c), the property which is

subject to forfeiture upon conviction of the Defendant for offenses charged in this Indictment

includes, but is not limited to, the following:

       A.      Firearm:

               (a)     Ruger .22 caliber pistol
                       Serial Number: 13-64846
                       Seized from: AARON ANDREW AUSTIN




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       B.      Ammunition:

               (a)    Miscellaneous rounds of .22 caliber ammunition
                      Seized from: AARON ANDREW AUSTIN

       C.      Proceeds/Forfeiture Judgment:

               A sum of money equal to all property the Defendant obtained as a result of the drug
               offenses charged in the Indictment, and all interest and proceeds traceable thereto
               as a result for his violation of 21 U.S.C. § 841.

SUBSTITUTION OF ASSETS:

       If any of the property described above as being subject to forfeiture, as a result of any act

or omission of the Defendant:

             . (a)    cannot be located upon the exercise of due diligence;
               (b)    has been transferred or sold to, or deposited with, a third person;
               (c)    has been placed beyond the jurisdiction of the Court;
               (d)    has been substantially diminished in value; or
               (e)    has been commingled with other property which cannot be subdivided
                      without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the Defendant up to an amount equivalent to the value of

the above-described forfeitable property;

       Pursuant to Title 18, United States Code, Section 924(d)(l ), Title 21, United States Code,

Sections 853 and 881, and Title 28, United States Code, Section 2461(c).


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                                                         REDACTED




M. RHETT DEHART          (WIM/kk)
ACTING UNITED STA TES ATTORNEY



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